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            IN THE UNITED STATES DISTRICT COURT FOR
               THE SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION

ANTONIO DAWON WOODLEY,

     Petitioner,

V.                                 )        CASE NOS. CV413-167
                                                      CR408-315
UNITED STATES OF AMERICA,

     Respondent.                   )                                   CI
                                   'I




                             ORDER
                                                            -



     Before the Court is Petitioner Antonio Dawon Wd1eyL5 =
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Motion for Reconsideration.             (Doc. 13.)   In the potion;

Petitioner seeks reconsideration of this Court'1 order

(Doc. 10) adopting the Magistrate Judge's Report and

Recommendation (Doc. 7), and dismissing his 28 U.S.C.

§ 2255 petition. After carefully reviewing Petitioner's

motion and the record in this case, the Court can find no

reason to disturb its prior order. Accordingly,

Petitioner's motion is DENIED.

     Along with alleging errors of law, Petitioner contends

that the Court failed to consider his timely objections.

(Doc. 13 at 1-2.) Indeed, the order adopting the Report

and Recommendation stated that Petitioner filed no

objections. (Doc. 10 at 1.) This Report and

Recommendation was the second issued by the Magistrate
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Judge and came after Petitioner was granted leave to amend

his § 2255 petition. (Doc. 7 at 1.) The objections

Petitioner cites are those he filed in response to the

first Report and Recommendation. In any event, the Court

did consider those objections when assessing the merits of

the § 2255 petition. However, those objections lacked

merit and did not serve to dissuade this Court from

adopting the Magistrate Judge's second Report and

Recommendation, which incorporated the first, and deny his

§ 2255 petition.

     SO ORDERED this      I day of April 2014.



                                 WILLIAM T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
